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                              UNITED STATES DISTRICT COURT
                                            District of Minnesota


 Shirley J. Anderson and Arnold
 R. Anderson,
                                                          JUDGMENT IN A CIVIL CASE

                     Plaintiffs,
v.
                                                                  Case Number: 14-cv-4832 PJS/HB
     Medicare Insurance; New River
     Medical Center; Guardian Angels
     TCU of Elk River, MN;
     Dr. David Kraker; Dr. Gregg Dyste;
     Dr. Mark R. Mount; and Dr. Steven
     Lockman,

                    Defendants.



     Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
     has rendered its verdict.

X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
  heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

     1. The government’s motion to dismiss [ECF No. 17] is GRANTED.

     2. Anderson’s claim against the government is DISMISSED WITH PREJUDICE.

     3. This matter is REMANDED to the Minnesota District Court, Tenth Judicial District.



Date: July 20, 2015                                                  RICHARD D. SLETTEN, CLERK

                                                                               s/LP Holden
                                                           (By)                   LP Holden, Deputy Clerk
